Case: 3:21-cv-01123-JGC Doc #: 11 Filed: 08/18/21 1 of 13. PagelD #: 2

FILING A CIVIL RIGHTS COIMPLAINT

FORM TO BE USED BY A PRISONER IN |

FILED

AUG 18 2021 ene UNITED STATES DISTRICT COURT

CLERK, U.S, DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OHIO

ORTHERN DISTRICT OF OHIO
N TOLEDO

BRIAN TTA ALPS RD

(Enter above the full name of the plaintiff in this action)

VS.

Raprer 2ilLes, ms. nae a
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t & Ek.

I, Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same facts involved in
this action or otherwise relating to your imprisonment? YES i no L]

B. If your answer to A is yes, describe the lawsuit in the space below, (If there is more than one
Jawsuit, describe the additional lawsuits on another piece of paper, using the same outline).

1. Parties to this previous lawsuit

Plaintiffs RRIAN /CEVTH LF ord

Defendants_(Q coy Y/ O11 f, cf Al

2. Court (if federal court, name the district; if state court, name the county)
SovTit diy VISIT OF ore
3. Docket Number 2:17- CV- LYI7

4. Name of iudes ta wham casa wes ceciend

Case: 3:21-cv-01123-JGC Doc #: 11 Filed: 08/18/21 2 of 13. PagelD#: 3

iD

5. Disposition (for example: Was the case dismissed? Was it appealed? Is it still pending?)
DIsM1ssk2

6. Approximate date of filing lawsuit (T Pril Zs £OLF

7. Approximate date of disposition Sy <F 2020

Il. Place of Present Confinement 1Oo1L DQ ce eRkC7 ON A L ZASTUIT ON

A. Is there a prisoner grievance procedure in this institution? YES no (]

B. Did you present the facts relating tojyour complaint in the state prisoner grievance procedure?
YES ny no LO]

C. If your answer is YES,
1. What steps did you roker KYHAV SED Homa LUD Ley, Noi
NM RECTOR any Monk. Lee ne. URWLEs

2. What was the result?_W0 RESULT. IN ny BERL f Fie
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D, If your answer is NO, explain why not

If there is no prison grievance procedure in the institution, did you complain to prison
authorities? |

ves@ no
F, If your answer is YES,

1. What steps did you take? Ki TAS Ye EDI STRAET LSI , ROMIN Salt
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Case: 3:21-cv-01123-JGC Doc #: 11 Filed: 08/18/21 3 of-13. PagelD #: 4

2.

(Statement of Claim Continued)

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V. Relief

(State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no
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Signed this 67K day of h (KSsT , WlEZ/

I declare under penalty of perjury that the foregoing is true and correct.

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(Date) (Signature of Plaintiff)

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